      Case 1:23-cv-03026-TOR    ECF No. 49     filed 03/15/23   PageID.1214 Page 1 of 3



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 8
                       UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON, et al.,                  No. 1:23-cv-03026
12
                               Plaintiffs,         MOTION TO EXPEDITE
13
            v.                                     03/22/23
14
                                                   WITHOUT ORAL ARGUMENT
15   U.S. FOOD AND DRUG
     ADMINISTRATION, et al.,
16

17                             Defendants.
18

19         Defendants move for expedited consideration of their Motion to Exceed
20
     Page Limit, ECF No. 48. Plaintiffs consent to both Defendants’ Motion to Exceed
21
     Page Limit and this Motion to Expedite.
22

23         An expedited ruling on Defendants’ Motion to Exceed Page Limit is
24
     necessary because Defendants’ response to Plaintiffs’ Motion for Preliminary
25
     Injunction is due on March 17, 2023. Without expedited consideration, Defendants’
26

27                                             1
     MOTION TO EXPEDITE
      Case 1:23-cv-03026-TOR    ECF No. 49   filed 03/15/23   PageID.1215 Page 2 of 3



 1 Motion to Exceed Page Limit may not be set for consideration until April 14, 2023.

 2
     Defendants therefore have good cause to seek an immediate hearing on this Motion
 3

 4 to Expedite.

 5
     March 15, 2023                          HILARY K. PERKINS
 6                                           Assistant Director
 7
                                             /s/ Noah T. Katzen
 8                                           NOAH T. KATZEN
 9                                           Trial Attorney
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15                                           Counsel for Defendants

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27                                           2
     MOTION TO EXPEDITE
      Case 1:23-cv-03026-TOR     ECF No. 49    filed 03/15/23   PageID.1216 Page 3 of 3



 1                               CERTIFICATE OF SERVICE
 2

 3       I hereby certify that, on March 15, 2023, I electronically filed the foregoing
 4
     with the Clerk of the Court using the CM/ECF system, which will send notification
 5

 6 of such filing to all counsel of record.

 7

 8                                                 /s/ Noah T. Katzen
 9                                                 NOAH T. KATZEN

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     MOTION TO EXPEDITE
